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                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, et al.                                             CIVIL ACTION NO. 12-859

VERSUS                                                            JUDGE LANCE M. AFRICK

MARLIN N. GUSMAN, Orleans Parish                                  MAGISTRATE JUDGE ALMA
Sheriff, et al.                                                   CHASEZ



   MEMORANDUM IN SUPPORT OF THIRD-PARTY DEFENDANT CITY OF NEW
        ORLEANS’ MOTION FOR APPOINTMENT OF A RECEIVER

MAY IT PLEASE THE COURT:

         Third-Party Defendant, the City of New Orleans (the “City”), hereby submits its

Memorandum in Support of its Motion for Appointment of a Receiver. Specifically, the City

moves the Court to appoint a receiver to control all of the administrative, correctional and

financial aspects of the operations of Orleans Parish Prison (“OPP”) and related facilities—

starting immediately.1

                                              INTRODUCTION

         Sadly, the City comes before the Court in another chapter of a long history regarding

asserted conditions at OPP and the Orleans Parish Sheriff’s failure to resolve them despite being

         1
           To note, the City is not asking the Court to remove Sheriff Gusman from office; the decision whether to
retain Sheriff Gusman is one that only the voters of Orleans Parish can make.




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aware of these conditions after a span of forty-four (44) years of litigation. With this history in

mind, it has become increasingly clear that if problems still exist at OPP, it is because the

conditions at OPP have not been addressed by Sheriff Gusman for the last nine (9) years.

Equally important, the conditions at OPP are attributed to lack of management; although the

Court has scheduled separate evidentiary hearings to determine if the City must contribute more

tax dollars to the Sheriff, it is apparent that poor management, and not money, have caused and

permitted such conditions to exist.

           Despite operating under a series of consent decrees from the Hamilton v. Morial

litigation, the Orleans Parish Sheriff’s Office (“OPSO”) faces a new lawsuit involving similar

contentions by inmates within OPP, as well as the Department of Justice, alleging that nothing

has changed at OPP under Sheriff Gusman and, based upon his latest testimony and press

conferences, it is highly unlikely, if not a certitude, that anything will improve while he manages

OPP. Sheriff Gusman’s longstanding failure to comply with the consent decrees in Hamilton, as

well as address arguably constitutional minimums that Plaintiffs contend are lacking, now

requires extraordinary action by this Court. The City respectfully asserts that the form of this

remedial action should consist of placing OPP in receivership and appointing a qualified and

seasoned correctional expert as receiver to operate OPP and sections of the OPSO.

           A.     Appointment of a Receiver is Called for When, Like Here, There is a History
                  of Non-Compliance with Constitutional Mandates.

           “A district court’s power to fashion and effectuate its decrees of constitutional import is

broad and flexible.”2 A receivership is “an intrusive remedy which should only be resorted to in


           2
         Shaw v. Allen, 771 F. Supp. 760, 762 (S.D. W. Va. 1990)(quoting Morgan v. McDonough, 540 F.2d 527,
      st
533 (1 Cir. 1976)) (alteration omitted).




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extreme cases.”3 In those cases, such as here, where “traditional remedies … are inadequate

under the circumstances a court acting within its equitable powers is justified [ ] in implementing

less common remedies, such as a receivership, so as to achieve compliance with a constitutional

mandate.”4 While extraordinary, “[r]eceiverships [are] far from unknown in prison litigation”

both before and after the Prison Litigation Reform Act.5 Federal courts have appointed receivers

to manage all or a part of severely troubled prison systems.6 Indeed, this has occurred as recently

as 2006.7 Not only do federal courts appoint receivers to oversee failing jail systems, but

receivership is also a tool utilized when addressing other government agencies that cannot or

would not comply with the law.8              Unfortunately, the situation and alleged constitutional

violations occurring at OPP as well as the Sheriff’s abject failure to resolve them despite being

acutely aware of consent decrees authorized by other courts warrants the immediate appointment

of a receiver to operate OPP – unless this Court accepts Sheriff Gusman’s testimony that neither

the inmates, the deputies, nor the members of the public are at risk.




         3
           Id.
         4
           Id.
         5
           Plata v. Schwarzenegger, 603 F.3d 1088, 1093 (9th Cir. 2010).
         6
           See, Plata, 603 F.3d at 1093; Inmates of D.C. Jail v. Jackson, 158 F.3d 1357, 1359 (D.C. Cir. 1998)
(receiver appointed over jail’s medical and mental health services); Newman v. Alabama, 466 F. Supp. 628, 635
(M.D. Ala. 1979) (receiver appointed to oversee entire prison system); Shaw v. Allen, 771 F. Supp. 760, 763-64
(S.D. W. Va. 1990) (receiver appointed over county jail). Cf., Wayne County Jail Inmates v. Wayne County Chief
Executive Officer, 444 N.W.2d 549, 560-61 (Mich. Ct. App. 1989).
         7
           Plata, 603 F.3d at 1093.
         8
           See, Morgan v. McDonough, 540 F.2d 527, 532-34 (1st Cir. 1976) (school system); Gary W. v. Louisiana,
Civ. A. No. 74-2412, 1990 WL 17537, at *30-33 (E.D. La. Feb. 26, 1990) (state children’s services agencies);
Turner v. Goolsby, 255 F. Supp. 724, 730 (N.D. Ga. 1966) (county school system). Cf. Judge Rotenberg Educ. Ctr.,
Inc. v. Comm’r of Dep’t of Mental Retardation, 677 N.E. 2d 127, 150 (Mass. 1997), abrogated on other grounds In
re Birchell, 913 N.E.2d 799, 813 (Mass. 2009).




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         B.     According to the Inmates and the Department of Justice, the Sheriff Has
                Continued a Long Standing History of Denying Prisoners Their
                Constitutional Rights.

         Despite being subject to the various consent decrees in Hamilton – none of which have

been terminated (at Sheriff Gusman’s request as recently as last month) – the Sheriff, according

to the Plaintiffs and DOJ, continued his office’s woeful tradition for nearly a decade of providing

unacceptable conditions at OPP and for the general public. From 2008 through the present,

Sheriff Gusman, either at his request or involuntarily, has been the subject of two (2) different

reports issued by divisions of the Department of Justice and the Sheriff has received two (2)

distinct letters from the Department of Justice alleging that the conditions at OPP – including

medical, mental health, security, sexual abuse, excessive force, and environmental conditions –

are not acceptable and appear to violate federal rights. Notably, the issues raised in both Reports

and again in both of DOJ’s Findings Letters in 2009 and 2012 were the subject of the consent

decrees in Hamilton. Both the inmates and the Civil Rights Division of DOJ have stated

repeatedly that OPP conditions fall below constitutional minimums. Despite these Reports and

the Findings Letters, the Sheriff did nothing to ameliorate the conditions at OPP, and, in April

2012, a group of inmates represented by the Southern Poverty Law Center filed a class action

lawsuit against the Sheriff. Six months later, the Department of Justice’s Civil Rights Division

(the “Civil Rights Division”) intervened in the Plaintiff Inmates’ lawsuit.

         In December 2012, the Sheriff, the Plaintiff Inmates, and the Civil Rights Division

moved this Court to approve a consent decree they entered into without the City. Following this

request, the Court held a fairness hearing on April 1st through 4th, 2013, to take evidence as to

whether or not the proposed consent decree complies with the narrow restraints and the statutory




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need to assess the impact upon third parties (the members of the public) required by the Prison

Litigation Reform Act as well as whether the proposed consent decree, as a purported class

action settlement, is fair and reasonable. Based on the testimony and evidence elicited during

that hearing, it is clear that, if the Court accepts the testimony offered by the fact and expert

witnesses presented by the Plaintiffs, then the traditional remedies are inadequate and additional

action by the Court is needed to resolve the problems at OPP.          Relying upon the recent

disclosures during the hearing, coupled with the history of Hamilton, the City respectfully

submits that the appointment of a receiver to operate OPP is essential and needed.

         Even based on a cursory review of the testimony of the various expert and fact witnesses

presented by the Civil Rights Division and the putative class of Plaintiff Inmates, represented by

the Southern Poverty Law Center, at the April 1, 2013, hearing in Jones, the need for a receiver

to manage OPP’s daily operations is apparent, unless the Court rejects the credibility of their

witnesses and accepts the diametrically opposed testimony of Sheriff Gusman.

                1.     The Department of Justice’s Findings Letters

         In 2009 and again in 2012, the United States’ Department of Justice sent a “findings

letter” (collectively, the “Findings Letters”) to Sheriff Gusman and his attorneys detailing the

DOJ’s concerns regarding the conditions at OPP. In its first Findings Letter, the DOJ concluded,

based on three (3) visits to OPP throughout 2008, that the Sheriff failed to adequately protect

inmates from harm from other inmates and staff, to provide adequate mental health needs, to




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provide adequate suicide prevention, to provide adequate medical management, to provide safe

and sanitary conditions, and to provide adequate fire safety.9

         Considering the fact that the Sheriff failed to substantively respond to the DOJ’s

allegations, the DOJ sent a second Findings Letter to the Sheriff on April 23, 2012.10 In addition

to detailing the Sheriff’s lack of communications with the DOJ in response to its first Findings

Letter as well as the conditions in OPP, the DOJ noted that not only had there been no

improvements as to the conditions at OPP but conditions worsened.11 Despite this series of grave

criticisms by the DOJ, Sheriff Gusman took no action and allowed the situation at OPP to

continue and apparently worsen as Plaintiffs’ experts testified.12

                  2.       Prison Rape Elimination Act Report

         Although these facts, expert testimony, expert reports and documentary evidence provide

compelling reasons to appoint a receiver, there are even more facts to support such a decision.

Among the many reports and findings regarding the conditions deteriorating at OPP was a report

published by a DOJ sponsored agency to assess compliance with the Prison Rape Elimination

Act.13 Though the report was intended to focus on sexual assaults in jails, the authors of the

report decided to expand their assessment when they considered the operations at OPP. In short,

these individuals concluded that, for a jail its size, OPP was the worst in the country.




          9
            A copy of the DOJ’s September 11, 2009, Findings Letter is attached hereto as Exhibit “A;” it was
marked as trial exhibit 1.
          10
             A copy of the DOJ’s April 23, 2013, Findings Letter is attached hereto as Exhibit “B;” it was marked as
trial exhibit 2.
          11
             Id.
          12
             It is also noteworthy that, besides writing letters, the Civil Rights Division took no affirmative action
during the intervening four years.
          13
             A copy of the PREA Report is attached hereto as Exhibit “C,” and was marked as trial exhibit 4.




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                 3.       Testimony of the Plaintiff Inmates

         During the fairness hearing for the consent decree proposed in the Jones litigation, three

former inmates from OPP testified regarding the conditions that exist at the jail.14 This testimony

revealed the depth of the problems regarding the conditions at OPP including the prevalence of

inmate-on-inmate violence, sexual assaults, Sheriff’s deputies’ failure to perform their assigned

tasks, and deficiencies in both general medical and mental health treatment. Many, if not all, of

these alleged deficiencies were items that should have been resolved pursuant to the currently

binding consent decrees in Hamilton. Unlike many other critical documents he chose not to read

describing conditions at OPP today, Sheriff Gusman has first-hand knowledge of the consent

decrees in the Hamilton case. The fact these conditions continue to exist shows that control of

OPP must be removed from the hands of the current Orleans Parish Sheriff and placed in the

hands of an independent Court-appointed receiver.

                 4.       The Reports and Testimony of Dr. Jeffrey Schwartz.

         The Plaintiff Inmates retained and presented the expert report and testimony of Dr.

Jeffrey Schwartz regarding the conditions and alarming lack of safety within OPP. Prior to his

retention in Jones, Dr. Schwartz had previous involvement with OPP. In 2008, Dr. Schwartz and

another correctional consultant, Mr. Rod Miller, toured OPP and prepared a detailed report about

the operations and conditions at OPP.15 This study and report by Dr. Schwartz and his colleague

were undertaken through the National Institute of Corrections – an agency that operates under

the aegis of the Department of Justice – that the Sheriff himself requested provide assistance

regarding the conditions at OPP.
         14
            At the fairness hearing testimony was provided by Euell Sylvester, Donald Washington, and Aaron Steel.
         15
            A copy of the 2008 Report entitled “An Operational Review of the Orleans Parish Jails,” dated October
10, 2008, is attached hereto as Exhibit “D,” and was marked as trial exhibit 3.




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         In their 2008 report, Dr. Schwartz and Mr. Miller identified numerous concerns and

expressed a broad range of criticism, specifically including the Sheriff’s lack of leadership; they

also chronicled virtually every issue that ultimately became a basis for the Jones lawsuit filed

four years later against the Sheriff and his senior management. At the outset of their preliminary

observations, these two consultants concluded that there were many areas and problems that

could be fixed quickly, easily, or cheaply. They also expressed their view that if Sheriff Gusman

wanted to address the issues identified in their 2008 report, he needed to prioritize his efforts.

Nothing happened. Not in 2008, 2009, 2010, 2011, or 2012. Indeed as of April 2013, the Sheriff

counters and contradicts every opinion expressed by Dr. Schwartz in 2008 as well as takes issue

with Dr. Schwartz’s opinions that were reaffirmed following Dr. Schwartz’s recent inspections

of the OPP facility last year.

         Five years after his initial Report, Dr. Schwartz’ views did not change – and the Sheriff

did not change either. Concluding his 62 page expert report in Jones, Dr. Schwartz’s first

conclusion is that “OPP lacks effective, principled leadership.”16 Once again, Dr. Schwartz notes

in his report that his investigative efforts were “compromised to an unusual degree by

Defendant’s [Sheriff Gusman’s] lack of cooperation and lack of production of relevant

documents.”17 Sheriff Gusman’s refusal to cooperate with jail correctional consultants retained

to support the proposed consent decree Sheriff Gusman signed provides additional support for

the City’s position that the Sheriff should not be “at the wheel” for OPP.

         Besides disagreeing with the contents of DOJ Findings Letters delivered to the Sheriff in

2009 and 2012, the Sheriff contravened the contents of every pleading offered in support of the

         16
              A copy of Dr. Schwartz’ Expert Report, dated March 4, 2013, is attached hereto as Exhibit “E.”
         17
              Id.




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proposed consent decree in Jones he supposedly endorsed by his signature. His signature to the

proposed consent decree proved to be a hollow gesture. Despite the fact that Sheriff Gusman

testified under oath that he did not bother to read the expert reports, including the lengthy

narratives prepared by Dr. Schwartz and Manuel Romero (discussed in more detail below), he

repeatedly “took issue” with their conclusions. It is peculiar, to the say the least, that the Sheriff

has the audacity to sign a proposed consent decree but disagree with the need for it and its

contents.

         In his March 2, 2013, report, Dr. Schwartz states that OPP is one of the worst jail systems

he has seen in his 35 years of working with and inspecting jails. If that were not enough, Dr.

Schwartz commented that OPP may be the worst run jail he has ever seen. These statements

were made before Dr. Schwartz viewed the extraordinary tapes of incarcerated inmates prancing

down Bourbon Street, using illegal drugs, brandishing a Glock .45 firearm, partying with beer,

and flagrant gambling while incarcerated in OPP. Prior to viewing these remarkable events, in

and out of the jail, Dr. Schwartz recognized the basic problems at OPP stemmed from lack of

leadership and management.

         Given the long and tortured history involving OPP, no consent decree, even as

appropriately modified and tailored, will be effective unless the leadership changes. Without

doubt, that is the consensus of the experts. The Sheriff did not just “take issue” with Dr.

Schwartz’s expert opinions and observations; Sheriff Gusman unflinchingly stated that he

disagrees with each and every allegation asserted in pleadings offered to support the proposed

Consent Decree and correspondingly disagrees with all of the expert opinions. Simply put, the

Sheriff does not believe there is a problem at OPP despite being under numerous consent decrees




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in Hamilton and having yet another consent decree proposed in Jones which, quizzically, he

signed. Given this history, it is clear that the “traditional remedies” are woefully insufficient

considering that the Sheriff has subscribed to another consent decree when he rejects the facts

offered to justify the proposed consent decree and when he has not heeded for years the consent

decrees already affecting OPP.

                    5.       The Report and Testimony of Manuel Romero.

         In addition to Dr. Schwartz, the Civil Rights Division presented its own expert regarding

the conditions at OPP, Mr. Manuel Romero, the former deputy of operations for the State of New

Mexico’s prison system. Among other conclusions, Mr. Romero’s expert report found “alarming

conditions” at OPP.18 Mr. Romero based his opinions, in part, on two (2) separate visits to OPP

in April and December of 2012. Tellingly, Mr. Romero expressed his opinion that conditions at

OPP worsened from his visit in April 2012 to his visit in December 2012; once more Sheriff

Gusman begged to differ when Sheriff Gusman testified. Further, Mr. Romero testified that

“prisoner-on-prisoner” violence flourishes in the dysfunctional OPP, as he chronicled from his

inspections at OPP and review of prison documents.

         Significantly, Mr. Romero testified that a fundamental security component in a jail

setting is contraband control. This basic jail practice is required not only to protect inmates and

deputies in OPP but to ensure that the safety of the members of the public is likewise a top

priority. Under Sheriff Gusman’s watch, this was not done. On April 2, 2013, the Court

permitted disclosure of three video tapes that had been requested by the City a month ago but not

revealed by the Sheriff until April 1, 2013—less than 24 hours earlier. The April 1st production


         18
              A copy of Mr. Romero’s Expert Report, dated March 4, 2013, is attached hereto as Exhibit “F.”




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by Sheriff Gusman was untimely – under any standard. To be clear, it is apparent from the

Court’s comments and the City’s numerous statements, both in court pleadings and to the public,

that the Court and Mayor Landrieu were deeply disturbed upon hearing the evidence presented

last week. These tapes, to put it mildly, shock the conscious. The resulting public outcry has

proven that the images these tapes show go beyond mere sensationalism; they graphically reveal

deep flaws within the daily operations of OPP and the Sheriff’s Office. It is safe to assume that

neither the Court in Jones nor the public were apathetic about this series of blatant prisoner

misconduct, escapes and the proliferation of contraband in the jail. These tapes were offered into

evidence as City Exhibit 13 without any objection by the Sheriff.

         Immediately after these tapes were shown in court, Mr. Romero testified. To say he was

mildly stunned after viewing the footage would be an understatement. Not surprisingly, Mr.

Romero testified that he has never seen anything like what he watched on those tapes. He told

the Court he has never seen such an inordinately high level of dysfunction at a jail facility.

Compounding these issues, Mr. Romero believed that the inmates pictured were using an array

of illegal drugs and a gun in one video and walking the streets of the City when they were

supposed to be incarcerated.

         Correspondingly, Mr. Romero corroborated Dr. Schwartz’ views that allocation of

resources by Sheriff Gusman was “upside down;” in other words, Sheriff Gusman chose not to

properly prioritize his resources to manage OPP. He also testified that these events established a

lack of leadership and a lack of accountability by the Sheriff. Even if the Court in Jones

approves some version of a tailored, non-intrusive consent decree, the mere fact that the Court

finds that such a document is necessary, despite the fact that the various consent decrees in




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Hamilton are still in effect, only underscores the void of leadership and accountability that these

corrections experts believe are the touchstones required by a keeper of the jail. Both experts

agreed with the well-known maxim that the “buck stops” with the head of an organization. As

their testimony indicates, no one was at the “top” when it came to OPP. Indeed, they observed,

among other things, that Sheriff Gusman used a “hands-off” management style, which either

allowed or exacerbated falsified records, unacceptable jail practices, and rampant misconduct by

the Sheriff’s deputies.

         The conclusions of Mr. Romero coupled with Dr. Schwartz’s opinions lead to the

inescapable conclusion that drastic remedies are needed to correct the problems within the

Orleans Parish Sheriff’s Office and the resulting deplorable conditions at OPP – unless the Court

finds the testimony of Sheriff Gusman to be more credible than the Plaintiffs’ witnesses.

                6.        Recent Federal Indictments of the Sheriff’s Key Senior Staff.

         Two senior deputies at the Sheriff’s office recently plead guilty to bid-rigging,

conspiracy, and bribery. Not only did these deputies admit they committed federal felonies but

their illegal conduct drained an untold amount of revenue from the operations at OPP.

Moreover, even Sheriff Gusman acknowledged that this federal criminal investigation involving

his office was not concluded and that the vendors and businessmen who had contracts with his

office are likely under criminal investigation.

                7.        The Recently Disclosed Videos from Within OPP and the Sheriff’s
                          Response Further Support the Need for a Receiver.

         Perhaps the most irregular and illegal activities presented during the hearing involved the

disclosure of the videos reluctantly produced by Sheriff Gusman. Equally disquieting was

Sheriff Gusman’s attempt to explain away graphic recordings of inmate misconduct and




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endangerment of the public. Initially the Sheriff testified that he did not recall the videos.

Specifically, when asked if he was aware of any such videos, he responded “[n]ot really, no.”19

Further, Sheriff Gusman referred to the existence of these videos as “one of those rumors you

hear,” and explicitly stated he did not view the videos.20 On March 14th, the City requested

production of any tapes evidencing inmates’ use of contraband or inmate escapes. It was not until

March 28th when the Court enforced the City’s request for videos that the Sheriff advised the

City that the tapes were turned over to agents from the Federal Bureau of Investigation,

presumably in response to a federal grand jury subpoena; the Sheriff represented that he did not

retain a copy of the tapes though the City’s request for these tapes preceded delivery of the tapes

to the FBI. According to his attorneys, agents from the FBI delivered to him a copy of the tapes

the next day (March 29, 2013, which was Good Friday). The tapes were then produced on April

1st pursuant to a protective order preventing disclosure to anyone except attorneys and experts, at

the request of the Sheriff. On April 2nd, in response to the City’s efforts, the Court lifted the

protective order and permitted disclosure of these tapes to the public.

         The City will not recount in detail the aberrant and unacceptable behavior flaunted in the

tapes by certain inmates. Needless to say, these tapes show disturbing images of inmates while

in OPP engaging in explicit drug use, gambling, consuming alcohol, and, most shockingly,

brandishing a firearm within a cell. These tapes also show inmates cavorting on Bourbon Street

at a time when they admit they are supposed to be incarcerated in OPP. In addition to the

contents of the tapes, the City requests that the Court take notice of the Sheriff’s response, both


         19
            Transcript of Deposition of M. Gusman, at p. 156:13 – 18. A copy of the relevant portions of the
transcript of Sheriff Gusman’s deposition is attached hereto as Exhibit “G.”
         20
            Id. at pp. 156:19 – 157:26.




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on and off the witness stand, and his effort to spin the facts instead of accepting responsibility for

the gross breaches of jail security.

         After testifying that he did not recall ever seeing the tapes, Sheriff Gusman then testified

that he saw them in 2009. He offered even more implausible testimony that the tapes were in a

safe for more than three years and neither he nor his senior staff knew how to open the safe. As

part of an effort to blunt the import of these tapes, the Sheriff suggested that tapes had been

doctored, though he was unable to offer any support for this implausible notion. Building upon

his incredulous suggestions, the Sheriff publicly said he could not detect contraband in the

videos because he was using a small screen to watch them. Yet, there was no audio or visual

difficulty in ascertaining every event on these tapes (including the disturbingly broad array of

contraband) when Sheriff Gusman’s attorneys produced the tapes to the Court and the City.

After these revelations that startled the public and correctional professionals alike, it was

reported that contraband and escapes were almost a daily activity for OPP inmates.21 The Sheriff

ventured to say that he found disclosures provided by these additional inmates regarding jail

security transgressions skeptical and sought to denigrate these first-hand admissions by calling

the inmates “unnamed persons who claim they recall incidents from four years ago.” In contrast,

it seems that Sheriff Gusman is the one person that recalls very little. The ever changing

explanations offered by Sheriff Gusman only reinforce the experts’ conclusions that the Sheriff

lacks “principled leadership” and has not been accountable for the operations of OPP.




         21
           Claire Galofaro, 2 Inmates Came and Went As They Pleased from OPP, Bringing Drugs and Gun With
Them, Fellow Prisoners Say, available at
http://www.nola.com/crime/index.ssf/2013/04/2_inmates_came_and_went_as_the.html#incart_m-rpt-1 (last visited
April 8, 2013).




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                 8.       The Public’s Response to the Recent Disclosures Corroborates the
                          Appointment of a Receiver.

         The City is now not alone in suggesting that a receiver is necessary and warranted. A

cross-section of reports and publications have created a chorus of voices agreeing with the City

and imploring the appointment of a receiver to operate OPP. A lengthy editorial published on

April 6, 2013, in the Times-Picayune and on nola.com, concluded that “the Sheriff himself

clinches the argument that he is unfit to oversee reforms at the prison.”22 Observing that the

Sheriff did not even read the expert reports produced in the Jones litigation relating to conditions

at OPP, the newspaper’s editors observed that the Sheriff nonetheless steadfastly refused to agree

with any of the conclusions reached by these experts who were retained to support the very

consent decree Sheriff Gusman signed several months ago. The strongly-worded editorial states

that the Sheriff should be made to account for the funds he receives from the City and others.

The City is no longer the only party calling for an accounting, notably, the editors of the Times-

Picayune now concur with the City that the safety of the inmates, deputies and the public are

paramount. Achieving these goals, as the editors correctly express, is essential for the viability

of New Orleans and its national reputation. The editors of the Times-Picayune conclude by

asking the Court to “find someone other than Sheriff Gusman to do the job.”

         In addition to the Times-Picayune, the well-known columnist Jarvis DeBerry recognized

the Sheriff’s incongruous positions of subscribing to the consent decree in Jones yet disputing




         22
            The Case for Change at Orleans Parish Prison: Editorial, available at
http://www.nola.com/opinions/index.ssf/2013/04/the_case_for_change_at_orleans.html (last visited April 8, 2013),
a copy of which is attached hereto as Exhibit “H.”




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that the conditions at OPP fall below accepted minimum standards. 23 Concluding his column,

Mr. DeBerry pointedly poses the question: “How can he be trusted to fix the jail if he isn’t

convinced it’s broke?”24 Mr. DeBerry now joins the City in finding that Sheriff Gusman cannot

be trusted to reform OPP.

         In addition to these publications, the Gambit Weekly has also called for the appointment

of a receiver as well as the resignation of Sheriff Gusman.25 Based on the Sheriff’s recent

“disingenuous testimony” as well as other factors, “at a minimum he [Sheriff Gusman] should be

out of the picture.”26 Indeed, according to this publication, “Gusman has failed the citizens of

New Orleans and owes them his resignation. If he chooses to stay, [the Court] should appoint a

receiver to clean up OPP.”27

                                              CONCLUSION

         The Court alluded to the multiple references by the City that a receiver may be

demanded. Recognizing that a receiver is appointed under extraordinary circumstances, the City

deferred filing a motion for the appointment of a receiver to manage the Orleans Parish Sheriff’s

Office. The City now respectfully submits its motion for a receiver based upon these facts, days

of testimony, and public safety concerns. While the Court deferred ruling on the Sheriff’s

funding claim until July 1st, the additional money he seeks from the City’s limited funds is not

the panacea; instead, it is a change in management. Stated simply, the person at the top is neither

         23
            Jarvis DeBerry, You Won’t Believe Sheriff Marlin Gusman’s Testimony, available at
http://www.nola.com/opinions/index.ssf/2013/04/you_wont_believe_sheriff_marli.html (last visited April 8, 2013),
a copy of which is attached hereto as Exhibit “I.”
         24
            Id.
         25
            Guns, Drugs, and Videotape, available at
http://www.bestofneworleans.com/blogofneworleans/archives/2013/04/05/editorial-guns-drugs-and-videotape (last
visited April 8, 2013), a copy of which is attached hereto as Exhibit “J.”
         26
            Id.
         27
            Id.




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accountable nor capable of exercising leadership skills, as the testimony last week regrettably

revealed. If the current situation does not justify the appointment of a receiver, nothing does.


                                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         This is to certify that a copy of the foregoing was filed on this 9th day of April 2013, with

the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

all participating counsel of record.



                                               /s/ Harry Rosenberg
                                               Harry Rosenberg




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